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                                  EXHIBIT C
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 Brazil’s Charles Schwab: XP Inc.’s
 Internal Audits Conflict With Its IPO
 Prospectus
 This report raises questions regarding the accuracy of XP’s financial
 statements following the discovery of accounting irregularities, inadequate
 financial disclosures, and discrepancies between the company’s IPO
 prospectus and internal audits.

 In addition, this report raises questions regarding XP’s asset values, revenue recognition, and
 tax deductions. It also documents a pattern of regulatory noncompliance and questionable
 executive judgement. We are short XP Inc. for the following reasons:

    ●   XP restated EPS figures multiple times just ahead of its IPO
    ●   XP’s contradictory financial statements reveal it may be overstating the value of its core
        asset by R$44 million
    ●   XP’s internal audits reveal a R$38 million discrepancy in the annual revenue reported in
        one audit versus the following year’s audit of its core asset
    ●   XP’s internal audits reveal a R$167 million discrepancy in the annual cash flow from
        operations reported in one audit versus the following year’s audit of its core asset
    ●   XP’s material weaknesses were identified years before XP says they were in its IPO
        prospectus
    ●   XP fired its auditor after the auditor found material weaknesses in its financial reporting
    ●   XP’s ex-CFO was implicated in a penny stock manipulation scheme then promoted to
        the board of directors and audit committee
    ●   XP’s new CFO claims he has held the job seven years despite just starting
    ●   XP was accused of knowingly violating securities laws and FINRA regulations in a $10
        million lawsuit
    ●   XP acquired a company for 10x its market value from a businessman targeted in a Swiss
        bank money laundering probe
    ●   XP’s irregular accounting practices inflate tax deductible goodwill by 200%
    ●   XP did not disclose nearly $1 million in related party transactions in its IPO prospectus
    ●   XP made a broker who was allegedly fired for violating rules its U.S. Compliance Chief
    ●   XP is not disclosing R$100 million in system failures and errors in its IPO prospectus
    ●   XP’s CEO profited from harming clients then failed to disclose a R$5.47 million fine
        ahead of his book launch and IPO​.
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 XP’s CEO Profited From Harming Clients Then Failed to Disclose
 a R$5.47 Million Fine Ahead of IPO
 XP’s CEO is copying Charles Schwab’s famous marketing campaign and did not reveal a
 serious regulatory matter that could negatively impact his book launch and XP’s IPO.

 Talk to Guilherme​. That’s the call-to-action Guilherme Benchimol, CEO of Brazilian financial
 services platform XP Inc., is copying from Charles Schwab to attract customers. What investors
 should be talking to Guilherme about is why he did not disclose a multi-million Brazilain reais
 fine in XP’s IPO prospectus.




 Brazil’s markets supervisor (BSM) recently accused Benchimol and XP of irregularities and
 conflicts of interest that harmed its clients. Specifically, the BSM stated XP operated in a
 manner that caused clients to have their trading orders not executed, executed late, or at a
 worse price.1 XP profited from the improper trading and was ordered to reimburse clients and
 pay fines and penalties totaling R$5.47 million.

 The BSM’s final judgement was handed down on August 12, 20192:


 1
     BSM Administrative Process No. 12/2016 ​https://bit.ly/396A9io
 2
     Final Judgement ​https://bit.ly/2VwOdxI


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 Yet, the $R5.47 million fine does not appear to be disclosed in XP’s IPO prospectus as the
 company reports just $R1.01 million in fines and penalties in the nine month period ending
 September 30, 2019:




 It’s possible XP hadn’t yet paid the fine by September 30th. So we contacted the BSM and
 asked how soon fines must be paid following a final judgement.




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 The BSM told us this:

           “After the decision has become final (after the final judgment), the accused is informed
           by BSM through correspondence that he must pay the fine within 5 days. If the accused
           does not pay the fine within this specified period BSM will take the appropriate legal
           measures to collect the fine.”

 There were 49 days between the final judgement and the end of the nine month reporting period
 in XP’s IPO. Unless it took 7 weeks for XP to receive the BSM’s correspondence, XP would
 have been required to pay the fine and penalties prior to the end of the September 30, 2019
 reporting period in its IPO. It would have also been required to disclose the penalty.

 Did XP intentionally hide the fact it was penalized for harming clients to preserve its reputation
 ahead of its December 10, 2019 IPO?

 Even if the non-disclosure resulted from a payment timing issue, XP knew it was on the hook for
 a significant fine a year and a half earlier (February 23, 2018) when it proposed a settlement
 with the BSM but didn’t make a provision for the penalty as it does for judicial and legal
 proceedings for which it believes losses are probable. For 2019, XP disclosed R$15.7 million in
 provisions and contingent liabilities for items similar to the penalty in question.

 The non-disclosure in this instance is puzzling. While the matter is unflattering, it pales in
 comparison to many of the other issues revealed in this report. Besides possibly preserving
 XP’s reputation ahead of its IPO, investors are left to wonder whether the lack of disclosure
 might also be connected with Benchimol’s personal brand building efforts.

 Benchimol, a self-proclaimed multi-billionaire, suggests he is “one of the most successful stories
 of entrepreneurship in Brazil” in the book3 he released four days prior to XP’s IPO. As the
 Director of Market Relations, the BSM held Bnechimol personally responsible for XP’s irregular
 conduct. Improperly executing client orders for the gain of the firm, intentional or not, is not
 news Benchimol would welcome on such an important week for his reputation.

 This is not the only nor the most significant nondisclosure we’ve uncovered.

 Guilherme is no Chuck. And XP is no Charles Schwab. Here’s why.


 XP Appears to Overstate Asset Value by R$44 Million
 Contradictory financial statements indicate the company may be overstating the value of
 its core asset and inaccurately calculating its share of total company assets.



 3
     Na Raca, Published November 26,2019 ​https://amzn.to/2SuAMMx


                                                                                                      3
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 In its IPO prospectus, XP claims XP CCTVM, its core asset, had assets of $14,050 million, or
 73.5% of the company’s combined assets as of December 31, 20184. However, an audit of XP
 CCTVM, while still a private company, reveals total assets of R$14,0065. This indicates the
 asset value in XP’s IPO prospectus inflates the value of CCTVM’s assets by R$44 million, or
 $10.5 million USD at an exchange rate of R$4.18/$1.00 USD.

 Even XP’s own math is incorrect. With total company assets of R$17,724 million, CCTVM
 actually accounts for 79.27% rather than 73.5% of total assets as the company claims in its
 prospectus.

 The inconsistency is even more pronounced for 2017. XP’s IPO prospectus reports CCTVM had
 assets of R$5,336 million, or 44.3% of total combined assets as of December 31, 2017.

 Here’s XP’s IPO Prospectus:




 Even before checking this against CCTVM’s audit, the math once again doesn’t work in XP’s
 IPO prospectus. The balance sheet in the prospectus shows total assets of R$7,136. If CCTVM
 had assets of R$5,336, that would amount to 74.7% of XP’s total assets, not 44.3%. The
 CCTVM audit shows total assets of R$5,315 in 2017, or R$21 million less than the inflated
 number in XP’s IPO prospectus.

 Here’s CCTVM’s audit:




 Unless the CCTVM audits are inaccurate, the evidence suggests XP is overstating the value of
 its core asset prior to offering shares to the public.




 4
     XP IPO Prospectus, p. 8 ​https://bit.ly/39i8iLP
 5
     XP CCTVM Audit 2018, p. 10 ​https://bit.ly/2UutXfr


                                                                                                4
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 Likewise, overstating the value of a core asset while, at times, understating the percentage that
 asset represents of the total firm’s assets suggests XP may be implying its other subsidiaries
 are worth more than they are. XP does not provide audits for its other entities on its site which
 might allow us to reconcile the discrepancies. XP appears to be overstating the value of its core
 asset to investors prior to the company’s public share offering.


 XP Forced to Restate EPS Mid-IPO
 XP restated its EPS figures multiple times in the months leading up to its IPO, raising red
 flags about the company’s financial controls.

 In the midst of multiple restatesments to EPS, it appears as if XP overstated its earnings per
 share by 39.7% for the year 2016. In fact, at one point the company had overstated its EPS
 calculations for two of the three years provided in the prospectus. In the original Draft
 Registration Statement (DSR), filed 9/13/2019,6 XP stated it earned R$0.2265 per share in 2018
 and R$0.0973 per share in 2016.

 However, in a revised DSR dates 10/17/2019,7 XP suddenly restated its EPS figures. Now XP
 claimed it earned R$0.2339 per share in 2018 and R$0.1360 in 2016:




 But just three weeks later, in a revised DSR dated 11/4/2019,8 XP sowed even more confusion
 when it restated EPS figures for 2016 and 2018 lower, consistent with the company’s original
 DSR filing:




 6
   XP DRS 9/13/2019, p. 16 ​https://bit.ly/2S3xVtN
 7
   XP revised DSR 10/17/2019 p.17 ​https://bit.ly/2SmGtuN
 8
   XP revised DSR 11/4/2019 p.18 ​https://bit.ly/39b8Hzx


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 In the same revised 11/4/2019 DSR though, XP contradicts its own EPS figures on page 18.
 Buried in the footnotes9 we once again find the elevated EPS figures, R$0.2339 per share in
 2018 and R$0.1360 in 2016:




 When the SEC noticed and questioned XP10 about the inconsistencies, the company restated its
 EPS figures yet again. In a revised DSR 16 days later dated 11/20/2019,11 XP bumped its
 figures back up to mirror those it submitted in its first DSR revision; EPS R$0.2339 in 2018 and
 R$0.1360 in 2016.

 Buried in the footnotes12 is this:

         “The Company’s earnings per share amounts for the years ended December 31, 2018
         and 2016​ ​as disclosed in note 30, have been restated to correct an error in the weighted
         average number of shares used in the denominator for the years ended December 31,
         2018 and 2016. The error has no impact in the balance sheet, statement of changes in
         equity, net income and statements of cash flows.”

 The error is related to an earlier disclosure13 that reads:




 9
   XP revised DSR 11/4/2019 p.F-39 ​https://bit.ly/39b8Hzx
 10
    SEC Letter 11/15/2019 ​https://bit.ly/2tFqGPC
 11
    XP revised DSR 11/20/2019 p.18 ​https://bit.ly/31tP6Ij
 12
    XP revised DSR 11/20/2019 p. F-64 ​https://bit.ly/31tP6Ij
 13
    XP revised DSR 12/9/2019 p. 18 ​https://bit.ly/2va4IEC


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         “Share and per share data in the table below has been retroactively adjusted to give
         effect to the Share Split.”

 There are two share splits investors shouldn’t confuse. The first is a four-to-one share split that
 occurred November 30, 2019, approximately two months after the original prospectus was filed.
 This split is accounted for on the Pro Forma EPS line.14

 The second split, which occurred March 3, 201715 is what XP suggests is the source of
 confusion. Serious concerns remain though. Even if we attribute the original restatement to
 nothing more than clerical clumsiness, the note XP provides is still lacking:

         “The basic and diluted earnings per common share are in effect with the share split
         occurred on March 3, 2017 to allow comparability between years.”

 Investors are led to believe that the revised share count in 2017 is accurate and is the
 denominator by which net income should be divided going forward. It’s not surprising then that
 2016’s EPS would be restated. However, it is concerning that XP would have to restate 2018’s
 EPS since it allegedly arrived at an accurate share count a year prior. Investors are right to be
 suspicious of the share count and EPS figures XP provides, especially after submitting
 contradictory EPS numbers in the same document.


 XP’s Revenue Recognition Doesn’t Add Up
 XP’s financial reporting is inadequate as audits reveal that revenue contributions from
 XP’s core asset are inconsistent with what XP reports in its IPO prospectus.

 XP acknowledges material weaknesses16 related to the recognition and measurement of
 revenues. The prospectus states these issues could result in a material misstatement of its
 revenues. The SEC noticed and seemed to suggest XP was reluctant to provide17 more detail
 regarding the growth of its management fees between 2016-18. The SEC also requested better
 disclosure regarding the make up and split between the management and performance based
 fees it earns.

 Combining these and other disclosures XP was required to make pre-IPO with CCTVM’s
 internal audits yields a muddied picture regarding the revenue generated by XP’s core asset.
 First, it’s important to understand how XP calculates revenue. First, XP calculates gross
 revenue by adding (1) net revenue from services rendered with (2) net income from financial
 instruments18. XP then backs out what it calls sales tax, defined as the sum of (1) Sales taxes

 14
    XP revised DSR 12/9/2019 p. 18 ​https://bit.ly/2va4IEC
 15
    XP revised DSR 12/9/2019 p. F-40 ​https://bit.ly/2va4IEC
 16
    XP IPO Prospectus 12/10/2019 p. 34 ​https://bit.ly/31y9Tuf
 17
    SEC Letter 10/31/2019 ​https://bit.ly/386MVN4
 18
    XP IPO Prospectus 12/10/2019 p. 75 ​https://bit.ly/31y9Tuf


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 and contributions on revenue; and (2) Taxes and contributions on financial income. The result is
 what XP calls total revenue and income.

 In 2018, XP states in its prospectus that CCTVM generated R$1,967 million,19 or 66.5% of XP’s
 consolidated total revenue and income. This appears inconsistent with the total revenue and
 income we calculate from CCTVM’s 2018 audit of R$2,221 million.20 Note that CCTVM’s audit
 doesn’t categorize line items exactly as XP does in its prospectus:

         Total Revenue and Income
         (+) Income from services rendered:          R$1,701,805
         (+) Income from financial intermediation: R$691,567
         (-) Tax expenses:                         ​ R$172,361
            Total:                                   R$2,221 million

 If our calculation is correct, it means CCTVM is actually 75% of total revenue and income in
 2018 rather than 66.5% as is stated in the prospectus This assumes XP’s total revenue and
 income of R$2,958 million in the prospectus is correct. Likewise, CCTVM’s total revenue and
 income for 2017 is also inconsistent with the revenue contribution ratio XP states in its DSR.

 It makes no sense that XP would understate CCTVM’s revenue. Especially after apparently
 inflating CCTVM’s asset value and restating its EPS higher. What seems more likely is that XP’s
 financial reporting is so inadequate, it’s not capable of producing financial statements in its
 prospectus that are consistent with CCTVM’s past audits. Nor does it appear XP is capable of
 accurately determining CCTVM’s contribution as a percentage to firm-wide revenue.

 The revenue XP reports may be even more suspect when you discover that CCTVM’s reports
 different revenue numbers for the same year in different audits.


 Internal Audits Exposed as Contradictory Including a R$38 Million
 Revenue Discrepancy
 The accuracy of XP’s pre-IPO financial statements are suspect if they’re based on audits
 that reveal significant discrepancies, including a R$167 million cash flow variance.

 Investors may not be able to trust CCTVM’s audits for the inputs necessary to accurately
 calculate total revenue and income for comparison with XP’s IPO prospectus. Investors can
 inspect CCTVM audits back to 2010.21 In examining them here, we’re exposing significant
 discrepancies in the results reported in these audits.



 19
    XP IPO Prospectus 12/10/2019 p. 149 ​https://bit.ly/31y9Tuf
 20
    XP CCTVM Audit 2018 ​https://bit.ly/2OBv1uq
 21
    XP Compliance ​https://bit.ly/2tyZYb9


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 In 2016, CCTVM reports financial intermediation income of R$474,86122 yet the following year’s
 audit, which includes the prior year, shows R$512,711.23 Included is a difference of R$20,300 in
 income from derivative financial instruments.

 Here’s the 2016 audit:




 And here’s the 2017 audit:




 The two audits expose a R$38 million discrepancy in 2016’s reported revenue.

 In addition to inconsistent gross income, operating income for 2016 also differs year-to-year,
 R$324,300 in the 2016 audit versus R$333,324 in the 2017 audit.

 While net income of R$109,750 is the same in both audits, the inconsistencies raise red flags
 for investors. With significantly different gross and operating income figures for the same year
 across different audits, it’s clear XP lacks uniform standards regarding how it counts certain
 items and where they should be included on an income statement. It’s an ad hoc approach that
 can erode investor confidence and result in different gross profit and operating margins for the
 same year depending on which audit you’re viewing.

 In some audits it appears XP changes which revenue streams it includes in financial
 intermediation income. For instance, in the 2015 audit24 XP included (1) securities and (2)
 income from foreign exchange operations. But the following year, in addition to securities and
 income from foreign exchange operations, the company included (3) loans and (4) foreign
 exchange operations.

 While this may account for some of the inconsistencies in audits that report identical net income,
 it doesn’t explain the glaring discrepancies for 2017. In addition to a R$65,055 difference

 22
    XP CCTVM Audit 2016 ​https://bit.ly/2UsCLTb
 23
    XP CCTVM Audit 2017 ​https://bit.ly/3767mZs
 24
    XP CCTVM Audit 2015 ​https://bit.ly/386DOfl


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 between CCTVM’s 2017 operating income in the 2017 audit versus the 2018 audit, the net
 income differs significantly.

 We suspect XP would argue the net income attributable to controlling shareholders in the 2017
 audit is identical to net income reported in the 2018 audit. However, there’s no note
 accompanying the net income line in the 2018 audit reconciling the additional R$57,900 of net
 income it reported in the 2017 audit (presumably for non-controlling interests). Remember, XP
 says in its prospectus that the 2017 share split impacted EPS not net income.

 The cash flow statement offers little help as significant discrepancies also exist. For example, In
 the 2017 audit, net cash from (used in) operations is R$115,576 and the increase/ (decrease) in
 cash and cash equivalents is R$68,716 whereas the 2018 audit shows (R$52,095) and
 (R$31,154).

 The discrepancy in cash flow from operations between audits, R$167,671 million, is significant.
 Remember, XP claims CCTVM is the company’s core asset. If these audits were relied upon as
 key components in producing the consolidated numbers included in the IPO prospectus,
 investors have reason to question the accuracy of XP’s pre-IPO financial statements.


 Ex-CFO Implicated in Penny Stock Manipulation Scheme
 The CFO at the helm when the flawed audits were produced is promoted to XP’s board of
 directors after being fined for his role in an illicit trading plot.

 Julio Capua Ramos da Silva was responsible for the accounting on which the contradictory
 audits were based.25 He joined the XP Group in 2004, began overseeing its accounting in 2007,
 and served as CCTVM’s chief financial officer until April 2019. The discrepancies uncovered in
 the audits span years and raise questions about the rigor of Capua’s oversight. Especially when
 you consider Capua was also in charge of XP Group’s financial and legal affairs and served as
 an officer for at least three of XP Group’s other subsidiaries.

 Even more concerning is Capua’s role in a penny stock price manipulation scheme that resulted
 in fines for both he and the company.26

 Between October 2013 and February 2015 Brazilian regulators say a mother-son duo conspired
 to manipulate the price of penny stocks via XP’s platform. Regulators say the pair made more
 than 250 trades between themselves that resulted in R$64,000 in illicit profits.27 Regulators
 detected the scheme approximately four months after it began but despite notifying XP and
 Capua, regulators say the scheme was allowed to continue.


 25
    XP IPO Prospectus 12/10/2019 p. 180 ​https://bit.ly/3bftS5j
 26
    BSM Market Supervision: Administrative Proceeding ​https://bit.ly/2OT9cqc
 27
    BSM Statement of Accusation ​https://bit.ly/31VBN3o


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 Regulators say Capua and XP did not prevent the irregularities, even after being notified of the
 scheme. By allowing the mother and son to make more than 100 additional trades after being
 alerted to the scheme, regulators say Capua failed in the due diligence that was expected of
 him.

 The following are translated excerpts from the complaint filed by Brazil’s Supervisor of Markets
 (BSM) and reveal Capua’s culpability:

       ●   Julio (Capua Ramos da Silva), under the terms of his appointment as Director of Market
           Relations for the Broker, is responsible
       ●   Even after being warned...regarding the atypicality of operations and the price
           manipulation strategy used by customers...Julio (Capua Ramos da Silva) did not take
           effective steps to cease the recurrence of abusive practice



       ●   Once aware, it was expected that Julio (Capua Ramos da Silva), as Director of Relations
           with the Market, would no longer allow business with the same modus operandi and
           involving the same customers
       ●   Julio (Capua Ramos da Silva) should have taken steps to avoid repeating (the)
           operations demonstrated...which was not the case
       ●   Even after the alerts made by BSM, irregular business continued...contributing to the
           manipulation of prices of assets traded in

 Capua’s response to the accusations is telling. While acknowledging liability for mistakes of
 omission, Capua initially blames the regulator for not being more specific regarding what he
 should have done after being notified of the scheme.28 Later, Capua blamed a lack of controls in
 XP’s system for allowing the scheme to continue.

 Prior to recommending he be fined R$10,000, Capua argued he should not be held personally
 responsible. One reason Capua cited was because the scheme did not result in a significant
 financial windfall for XP:

           ...the financial value involved was low. Obviously, this fact does not diminish or soften
           the severity... but it has to be considered that the...gross gain of R$64,900.00 for (the
           perpetrators)...(occurred) in the period of almost 2 years. For the broker (XP), such
           operations generated a benefit economic value around R$1,000.00.

 We highlight Capua’s behavior and argue it is pertinent not because of its economic impact but
 because of the assertion that the scheme was allowed to continue after XP was warned about it.




 28
      Defense and Proposed Term of Commitment ​https://bit.ly/38xxnlM


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 Ultimately, regulators levied a penalty much harsher than Capua recommended. He was fined
 R$100,000 and XP was fined R$100,000.29

 Of particular concern for investors in this case is the following claim from regulators that XP and
 Capua:

        ...continued to demonstrate a misunderstanding of the case by not understand(ing) (the)
        signs of irregularity…

 Regulators meticulously documented the scheme trade-by-trade and presented the evidence to
 XP and Capua. If regulators are correct that Capua did not understand that asset prices were
 being manipulated, even after being warned, it might not come as a surprise that Capua
 oversaw the accounting underpinning CCTVM’s flawed and inconsistent audits. Of even greater
 concern is the possibility these audits are the basis on which the financial statements in XP’s
 IPO prospectus are based.

 On the other hand, Capua denies misunderstanding the case and claims he was aware of and
 understood the irregularities that were occurring. This scenario would seem even more
 disturbing to investors concerned about CCTVM’s audits. It begs the question of whether
 Capua, while CFO of CCTVM, was aware of the flawed audits. If he was, what emerges is a
 troubling pattern of behavior where significant problems are known about but not corrected or
 prevented from reoccurring.

 Either scenario raises red flags. And this isn’t the only time Capua has paid a fine for failing to
 prevent market manipulation.30 Despite the regulatory reprimands and their potential
 implications regarding the flawed audits, Capua was rewarded recently with a seat on XP’s
 board of directors. Interestingly, Capua is also now a member of the audit committee.


 New CFO Claims to be CFO for 7+ Years Despite Just Starting
 Biographical imprecision suggests a pattern of carelessness that may help explain audit
 and accounting discrepancies.

 Remember, Capua was XP CCTVM’s CFO until April 2019. Yet if you view the LinkedIn profile31
 of XP’s current CFO, Bruno Constantino, you’d be led to believe he has been XP’s CFO for
 nearly eight years:




 29
    BSM Administrative Proceeding No. 35/2015 ​https://bit.ly/2vaWMDE
 30
    BSM Administrative Proceeding No. 32/2013 ​https://bit.ly/3cd1BNp
 31
    Bruno Constantino, LinkedIn Profile ​https://bit.ly/2H2SH6w


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 XP didn’t exist in its current form in 2012, meaning the CFO position referenced on
 Constantino’s LinkedIn profile didn’t exist either. Constantino’s XP biography32 states he
 became XP’s CFO in November 2019, nearly eight years after he says he did on LinkedIn, and
 the month before the company went public:




 Interestingly, a separate biography included in a document dated March 26, 2019,33 the year XP
 also claims Constantino became CCTVM’s CFO, makes no mention of Constantino being
 CCTVM’s CFO:




 We’re not accusing Constantino of dishonesty or wrongdoing. Even if you believe these are
 minor clerical errors related to XP’s complicated organizational structure, what we aim to


 32
      XP Corporate Governance ​https://bit.ly/2Sm8LFO
 33
      Valid: Annual Shareholder Meeting Manual ​https://go.aws/31uaqgP


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 establish by highlighting the imprecision is that, at minimum, a pattern of carelessness and lack
 of attention to detail exists. It may help explain why the discrepancies in CCTVM’s audits
 weren’t corrected after Constantino became CFO ahead of XP’s IPO.

 It defies logic that the CFO of a public company, especially in the lead up to its IPO, would
 knowingly make contradictory audits available for public inspection on its website. Especially if
 the financial statements in these audits are the foundation on which XP built the financial
 statements included in its IPO prospectus.

 At best it is inept.

 If Constantino was aware of the contradictory audits, and used them to help construct the
 financial statements included in XP’s prospectus, it begs the question of why he was promoted
 to be XP’s CFO. It raises serious questions about the judgement and oversight of XP’s board
 prior to going public. Understand though that XP’s pre-IPO board consisted of just five
 members, four of whom were executive officers at the company.34

 Investors should also note that Constantino likely played a pivotal role in firing the auditor that
 recently exposed the material weaknesses in XP’s financial reporting.


 Auditor Fired After Identifying Material Weaknesses
 XP acknowledges a reasonable possibility of not detecting or preventing a material
 misstatement in its regulatory filings.

 The material weaknesses were identified in an audit of XP’s consolidated financial statements
 for the year 2018. The company acknowledges insufficient accounting resources and processes
 necessary for compliance. In addition to weaknesses related to who has access to its systems,
 XP also admits its computer operations controls weren’t at times operating effectively.

 Remember, XP acknowledges it has revenue recognition and measurement issues as well as
 difficulty calculating EPS figures. While XP states that none of these weaknesses actually
 resulted in a material misstatement, the company does offer investors this warning:

 “...there is a reasonable possibility that a material misstatement of the annual or interim
 consolidated financial statements will not be prevented or detected on a timely basis.”

 Immediately after the audit that revealed XP’s material weaknesses, XP fired its auditor, KPMG
 Auditores Independentes.35 Below is a timeline of key events:



 34
      XP DSR 9/13/2019 p. 146 ​https://bit.ly/2H3bj6G
 35
      XP IPO Prospectus 12/10/2019 p. 235 ​https://bit.ly/3bftS5j


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      ●   March 26, 2019​: KPMG issues report identifying material weaknesses in XP’s financial
          controls
      ●   March 26, 2019​: KPMG is fired as XP’s auditor
      ●   April 2019​: Julio Capua Ramos da Silva relinquishes role as CCTVM’s CFO
      ●   April 17, 2019​: PricewaterhouseCoopers Auditores Independentes hired to be XP’s new
          auditor and conduct audits for the years 2017 and 2018 even though KPMG had just
          completed audits for 2017 and 2018
      ●   November 2019​: Bruno Constantino becomes XP’s CFO after becoming CCTVM’s CFO
          at an unspecified point earlier in 2019

 We find the timing of KPMG’s dismissal interesting given that KPMG was the public accounting
 firm that conducted the contradictory audits for CCTVM. KPMG kept the CCTVM business for
 years despite audits that were, at best, clumsy.

 It wasn’t until revelations of material weaknesses surfaced, just months prior to XP’s IPO, that
 KPMG was shown the door. Importantly, investors should be aware of research36 indicating that
 following the dismissal of an auditor, the probabilities of future restatements and material
 weaknesses generally increase.


 XP Hires New Auditor at Center of Corruption Probe
 XP did not have an auditor prior to hiring a new firm accused of rubber stamping
 fraudulent corporate financial statements.

 Just months prior to its IPO, with material weaknesses identified, it appears as if XP was
 officially without an auditor. In a letter37 to the SEC, KPMG says it was dismissed March 26,
 2019. It wasn’t until nearly a month later that XP hired its new public accountant.38

 Whether the gap in not having an official certifying accountant was simply the timing of contracts
 being let or whether KPMG was dismissed in haste, it signals XP’s lack of prowess as an
 operator and calls into question management’s judgement. Why after learning about material
 weaknesses would XP risk investor backlash over not having an auditor right before going
 public?

 In another telling move, XP hired PricewaterhouseCoopers Auditores Independentes as its new
 public accountant. This is the same auditor accused of rubber stamping materially false39 and
 misleading corporate financial statements in connection with the company at the center of a



 36
    Auditor Dismissals: What Does Timing Reveal that Disclosures Do Not? ​https://bit.ly/2H2T550
 37
    KPMG Letter to SEC 11/15/2019 ​https://bit.ly/2OwpkxE
 38
    XP IPO Prospectus 12/10/2019 p. 235 ​https://bit.ly/3bftS5j
 39
    The Grant Law Firm 2/3/2015 ​https://bwnews.pr/2S5mPon


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 notorious Brazilian money laundering,40 corruption, and bribery scheme that has resulted in 244
 criminal convictions.41

 Despite denying wrongdoing, PwC agreed to pay $50 million42 to settle the fraud case. Years
 after the probe was launched though, it appears PwC’s due diligence is still lacking. In a 2017
 inspection43 conducted by the Public Company Accounting Oversight Board (PCAOB), PwC is
 accused of rubber stamping its clients' financials without verifying them.

 The inspection characterizes PwC’s deficiencies as significant:

        “In other words, in these audits, the auditor issued an opinion without satisfying its
        fundamental obligation to obtain reasonable assurance about whether the financial
        statements were free of material misstatement and/or the issuer maintained effective
        ICFR (internal controls for financial reporting).”

 Not having an official auditor prior to going public should cause investors to further question
 XP’s internal controls. Likewise, hiring PwC does little to alleviate XP’s country risk. Of even
 greater concern to investors is the PCAOB inspection that accuses PwC of engaging in
 behavior similar to that which resulted in a multimillion dollar legal settlement. The combination
 is either an indictment on management’s judgement or evidence XP cared only about going
 public quickly.


 $10 Million Lawsuit Accuses XP of Violating Securities Laws
 Trader hired to build XP’s U.S. broker-dealer subsidiary says XP knowingly broke the law
 and violated FINRA regulations.

 David LaPorte Curley filed a lawsuit in 2014 accusing XP of wrongful termination and unlawfully
 taking his equity ownership stake after repeatedly complaining about what he called XP’s
 disturbing trend of noncompliance.44 Curley says XP’s co-founders Benchimol (now CEO) and
 Marcelo Maisonnave de Oliveira became annoyed with his insistence on regulatory compliance.

 Specifically, Curley says that despite repeatedly warning XP, the company improperly solicited
 U.S. clients prior to establishing a broker-dealer in the U.S. that was in compliance with FINRA
 regulations. Even after learning XP wasn’t legally allowed to operate yet in the U.S., Curley
 alleges Benchimol sent an email touting XP’s involvement in a roadshow aimed at generating
 business from institutional investors in the U.S.


 40
    Reuters: Brazil prosecutors charge 42 people 12/21/2018 ​https://reut.rs/2UyeHhE
 41
    Foreign Policy: Brazil’s Car Wash Investigation 6/17/2019 ​https://bit.ly/2S3Yq2f
 42
    Bloomberg Law: PwC Agrees to Pay $50m in $3b in Petrobras Fraud Case ​https://bit.ly/385rsUZ
 43
    PCAOB 2017 Inspection, 2/28/2019 ​https://bit.ly/2GYeJra
 44
    Curley vs. XP Investimentos Et al. ​https://bit.ly/39T1LYf


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 Curley’s complaint states:

           “Following that email, Maisonnave emailed Curley...apologizing for Benchimol’s
           suggestion that XP might be planning to violate applicable U.S. and Brazilian laws, as
           well as FINRA rules and/or regulations.”

 Ultimately, Curley never received the $10 million in damages for which he was asking. The
 lawsuit was discontinued in 201545. While Curley may not have proven he was wrongfully
 terminated, investors may find pertinent the allegations Curley made regarding XP’s ethical and
 legal practices, its founders, and corporate culture:

       ●   During a visit to XP’s headquarters in Rio, Curley noted the company’s sophisticated
           marketing and suggested Maisonnave bragged that XP Investimentos CCTVM copied
           the marketing from Charles Schwab and translated it into Portuguese to save money
       ●   Curley suggested XP’s trading desk, acting on inside information, solicited orders from
           Brazilian clients and drove up the price of an acquisition target 20% but investors lost all
           of the gains after the merger was announced and the deal’s structure had no price
           impact
       ●   At a dinner in Sao Paulo, Curley was dismayed when Maisonnave, after several glasses
           of wine, told a story how he and Benchimol almost went broke when a client established
           an extremely risky naked short options position that forced Benchimol to go to the
           client’s house in Rio Grande do Sul and repossess the client’s Range Rover to pay for
           the margin on the trade
       ●   Curley suggested XP used its research desk to manipulate stock prices higher, leaving
           some investors with significant losses after the market smartened up to the ruse
       ●   Curley was concerned about XP’s research as the retail team had conflicting buy/sell
           opinions with the research produced for institutional clients and as a result, XP either
           changed or withdrew the conflicting opinions on the retail reports to match the
           institutional ones, which...is a violation of Brazil’s Operational Qualification Program
       ●   In an effort to operate in the U.S. prior to gaining FINRA’s approval for equities trading,
           Curley says XP considered running a parallel trading link...to connect U.S. clients directly
           with XP Investimentos CCTVM, thereby bypassing XP Securities (the U.S. subsidiary not
           yet FINRA compliant), which violates FINRA’s “Standard 13” prohibiting attempts to
           evade regulatory requirements
       ●   (An XP Securities LLC. employee) explained to Curley, in no uncertain terms, that Curley
           was seen as a nuisance at XP Investimentos CCTVM due to his obsession with
           compliance and his objections to distributing various research reports in the U.S.
       ●   Curley says that after telling Benchimol he was willing to settle the termination dispute
           for a reasonable figure, Benchimol became agitated and said, “What? I’m going to
           destroy your reputation and dirty your name on the entire street! From here going
           forward you only talk to my lawyers!”

 45
      Decision 1/22/2015 ​https://bit.ly/2SSMW2i


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       ●   Curley says his termination was based in material part on his persistent efforts to ensure
           legal compliance at XP Investimentos CCTVM and XP Securities

 We reiterate Curley’s suit was not successful in obtaining damages. The disagreement wound
 up in arbitration.46 It should be noted though that it was Benchimol and Maisonnave, according
 to court records, who actively sought out Curley to establish XP’s broker-dealer subsidiary in the
 U.S. due to Curley’s past accomplishments on Wall Street.

 Ironically, it’s Curley’s involvement in establishing XP’s broker-dealer in New York, which is
 required to file annual corporate reports, that indicates XP did not disclose related-party
 transactions in its IPO prospectus. These reports also indicate XP was aware of material
 weakness in its internal controls years earlier than its IPO prospectus states.


 Undisclosed Material Weaknesses Discovered
 Material weaknesses in XP’s internal controls were discovered years before XP says they
 were in its IPO prospectus.

 XP isn’t being as transparent as investors might desire with regard to when it implies it identified
 material weaknesses in its internal controls for financial reporting (ICFR). The material
 weaknesses in ICFR were actually discovered by auditors at least five years before XP says it
 discovered them in its IPO prospectus.

 In the prospectus, XP states that it identified a number of material weaknesses in ICRF in
 connection with a 2018 audit. The reality though is that material weaknesses were identified at
 XP’s broker-dealer subsidiary in the U.S., XP Securities, LLC., in its 2012 annual report47.

 In February 2013, XP Securities, LLC was informed by its auditor of material weaknesses in its
 internal controls for the years 2011 and 2012:




 46
      XP Securities LLC v. Curley ​https://bit.ly/2SQJzc0
 47
      XP Securities, LLC Annual Report 2012 ​https://bit.ly/2Pkbm2l


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 The auditor also identified material weaknesses the following year.48 Yet XP failed to disclose
 this in its IPO prospectus. Investors should understand XP doesn’t have to make such
 disclosures. While the SEC requires auditors of domestic registrants to attest to the internal
 controls of a company’s subsidiaries,49 the same rules do not apply to XP.

 XP is registered as a foreign private issuer and qualifies as an emerging growth company and is
 exempt from many of the disclosures required of companies in the U.S. Specifically, XP does
 not have to comply with future audit rules established by the PCAOB and its auditors will not
 need to attest to the company’s internal controls. XP will be exempt from disclosing these
 matters for up to five years, despite the SEC being clear on the subject50 with regard to its
 expectations for U.S. companies:

        “We would typically expect management’s report on internal control over financial
        reporting to include controls at all consolidated entities, irrespective of the basis for
        consolidation.”

 XP actually went above and beyond in its IPO prospectus. Companies are not required to
 disclose material weaknesses in ICFR in their IPO registration statements.51 Companies that do
 so are generally trying to avoid surprising investors with bad news that could negatively impact
 the price of the stock ahead of a lockup expiration.

 Even the Securities Act Rule 40852 is of little help to investors. It requires IPO registration
 statements to include any material information necessary to ensure required disclosures are not
 misleading. Since XP wasn’t required to disclose its material weaknesses, it seems the
 company doesn’t have to provide information that prevents investors from being misled.


 48
    XP Securities, LLC Annual Report 2013 ​https://bit.ly/38T2iJD
 49
    SEC 17 CFR ​https://bit.ly/37UdT9O
 50
    SEC October 6, 2004 ​https://bit.ly/2SSF00Q
 51
    EY Trends in US IPO Registration Statements, P17 ​https://go.ey.com/37TGM6f
 52
    Securities Act Rule 408 ​https://bit.ly/38VVYRI


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 The voluntary disclosure could lead investors to believe the material weaknesses in ICFR were
 first discovered in 2019 (following the 2018 audit) when in fact, they were first identified in 2013
 (following the 2012 audit). The reality is material weaknesses in ICFR have existed at XP for
 years and were identified long before the 2018 audit.

 It seems XP would rather investors not know how pervasive and longstanding its material
 weaknesses are.


 Nearly $1 Million in Related Party Transactions Not Disclosed
 Omissions and contradictions reinforce a pattern of inconsistency regarding disclosure.

 Itaú Unibanco took a 49.9% stake in XP in August 2018. In the IPO prospectus, XP states that
 transactions with Itaú prior to the bank taking an equity stake would not be considered related
 party transactions:




 Yet, in another part of the prospectus XP discloses related party transactions with Itaú that
 occurred more than a year before Itaú took its stake in XP:




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 What’s not disclosed in the IPO prospectus are the related party transactions XP’s broker-dealer
 in the U.S. felt compelled to disclose. In all, XP Securities, LLC recorded $906,004 in related
 party transaction disclosures in its annual reports for the years 2013, 2015, 2016, 2017, and
 2018.

 Here’s the disclosure in the 2018 report53:




 The subsidiary disclosed $419,680 in revenue generated from related party transactions. It
 disclosed $480,423 in commissions due from related party transactions. And it disclosed $5,901
 it owed in a related party disclosure. The related parties include parent company XP
 Investimentos, CCTVM, XP Advisors Inc., and Itaú.

 In the prospectus XP states:

           “The effects of these transactions have been eliminated and do not have effects on the
           unaudited interim condensed consolidated financial statements.”

 The subsidiary’s related party transactions are immaterial to XP’s overall revenue. We highlight
 them only to reinforce XP’s pattern of inconsistency regarding disclosures. What XP feels
 compelled to disclose in once context differs in another.


 Irregular Accounting Inflates XP’s Tax Deductions
 XP is violating accounting rules by inflating its tax deductible goodwill by 200%.

 XP is violating tax accounting rules in the way goodwill is amortized on business combinations.
 Unlike GAAP accounting in which goodwill is not amortized but tested for impairment once a
 year, goodwill created in an asset sale is deductible for tax purposes.

 In the footnotes of its IPO prospectus, XP states that goodwill is amortized over 5 years:




 53
      XP Securities, LLC Annual Report 2018 ​https://bit.ly/38TCWv9


                                                                                                21
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 Five years is too aggressive though. U.S. accounting rules require goodwill from acquisitions to
 be amortized over 15 years,54 not five:




 In effect, XP has inflated its annual tax deductible goodwill by 200%.

 For comparison purposes, we’ve taken the goodwill from business combinations XP discloses in
 its balance sheet footnotes and calculated the difference between XP’s amortization schedule
 and that which is required by IRC Section 197:




 54
      26 U.S. Code 197 ​https://bit.ly/2HSTyar


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 Had XP amortized in accordance with the rules, it would have incurred an additional R$15.5
 million tax liability in 2017 and an additional R$7.9 million tax liability in 2018. These additional
 liabilities amount to 10.1% of XP’s income tax expense in 2017 and 4.5% of income tax
 expense in 2018. If not offset by loss carry forwards or other items, these additional liabilities
 would have reduced XP’s net income by 3.6% in 2017 and 1.6% in 2018.

 The determination of whether an error will result in a restatement, according to auditors,55
 hinges on materiality. The rule of thumb, as auditors understand it, is that companies should
 restate if the error is 5%-10% of pre-tax income. In this case, XP’s aggressive amortization
 amounts to 2.69% of pre-tax income in 2017 and 1.2% in 2018.

 We don’t expect XP to willingly restate. However, we do expect XP to begin following the tax
 law it’s currently flouting. Even if the impact isn’t material, it’s cause for concern regarding the
 accuracy of XP’s financial reporting. It’s also not the only goodwill issue of concern to investors.


 Suspicious XP Acquisition Linked to the Target of a Swiss Money
 Laundering Probe
 XP acquired a company for 10x its market value from a firm headed by a businessman
 accused of helping wealthy Brazilians evade taxes and funnel money to undeclared
 overseas bank accounts.



 55
      EY Financial Restatements: Understanding Differences ​https://go.ey.com/2w4C3Bk


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 Ninety-percent of the price XP paid for an asset manager in 2018 is goodwill. Goodwill
 represents the money paid for an acquisition above its market value and can signal
 overpayment.56 The rationale for the deal included synergies, a word XP misspelled in its IPO
 prospectus:




 The premium paid for Vista far exceeds those of prior acquisitions. Goodwill accounted for 70%
 of the Rico brokerage acquisition a year earlier. In the U.S., the average M&A premium was
 26% in the financial industry and 36% in the technology space in 2018.57 The nearly 10x
 premium XP paid for Vista isn’t even likely to move the needle as Vista accounts for just 0.7% of
 XP’s revenue.

 Instead of focusing on the premium XP paid, we thought our time might be better spent
 investigating the firm receiving the premium.

 Roberto Santos Telles Rudge, a partner at Marathon Investimentos e Participações S.A,., sold a
 99.6% stake in Vista to XP for R$10.9 million. Upon closing, Marathon Investments was
 incorporated by XP.

 Rudge is also a founder of GPS Financial Planning58, a Brazilian wealth management firm in
 which Julius Baer, a Swiss private bank, owns an 80% stake. In 2013, five years prior to selling
 Vista to XP, Brazil’s Federal Police launched an investigation of Rudge and his GPS partners.59
 The investigation centered around whether Julius Baer had purchased GPS to illegally funnel
 money from Brazil to Switzerland.60

 On July 10, 2013, an anonymous letter was sent to the Federal Police alleging criminal activity,
 including money laundering and tax evasion. The letter was accompanied by documents
 suggesting the existence of undeclared overseas bank accounts to which GPS funneled money.
 The letter prompted the Federal Police to launch an investigation on the following grounds61
 which we have translated from federal court records:

         "This is an anonymous letter forwarding documents that report the practice of 'money
         laundering' by São Paulo businessmen. Documents report that the founding partners of
         the company GPS Planejamento Financeiro SA, in addition to money laundering


 56
    Too Much Goodwill: A Red Flag for Your Portfolio ​https://bit.ly/2wKQoTP
 57
    Statista ​https://bit.ly/37VOnB7
 58
    CNPJ Registration Service ​https://bit.ly/2VkFPBj
 59
    Brazil: Federal Regional Court, 3rd Region, Procedural File #34388/2015 ​https://bit.ly/2wMLaqF
 60
    Veja: Federal Police Investigate Swiss Luxury Bank Company ​https://bit.ly/2vkB7bX
 61
    Brazil: Federal Regional Court, 3rd Region, Procedural File #34388/2015 ​https://bit.ly/2wMLaqF


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        operations, would be facilitating the evasion of foreign currency from Brazilian customers
        through the Swiss bank JULIUS BAER.”

 In summarizing law enforcement’s investigation, federal court records include the following with
 regard to Rudge:

        “...the partners of the company GPS: José Eduardo Nepomuceno Martins, Marco
        Antonio Belda de Dios Fernandes and Roberto Santos Telles Rudge would have
        'undeclared' bank accounts abroad, at HSBC Republic bank Monaco SA.”

 The court transcript states the documents law enforcement received were rich in detail:

        “Among the attachments, it is possible to check the copy of payment of life insurance
        abroad, by means of a foreign credit card in the name of the defendants; copy of proof of
        payment of travel by means of a foreign credit card on behalf of the accused; copies of
        bank account statements abroad in the name of the accused, as well as other
        documents.”

 In February 2015, Rudge and his partners asked a federal judge to grant an injunction that
 would stop the Federal Police from investigating further, in part, because they claim the
 evidence against them was obtained by unlawful means:

        “...the statements contained in the anonymous letter are based on information and
        documents protected by banking and fiscal secrecy, which could only have been
        obtained through theft or violation of correspondence.”

 The judge granted the injunction, which suspended the police investigation, based on the
 aforementioned argument and procedural grounds. In Brazil, a police investigation cannot be
 initiated on the basis of an anonymous complaint without a prior investigation of the facts.

 Investors in XP should take no comfort in the investigation being halted. The Federal Police
 suggested their query was in its infancy. While Rudge’s attorney argued the investigation was
 unfounded, note that the veracity of the evidence wasn’t questioned. It was the means by which
 it was obtained (stolen) that was at issue.

 To be clear, the allegations against Rudge are not related to XP’s purchase of XP Vista from
 Rudge and Marathon Investments. No one to our knowledge has accused Rudge, XP, or
 Marathon Investments of any wrongdoing associated with the Vista transaction.

 However, it’s only because XP paid Rudge approximately 10x the market value of Vista that we
 began looking into Rudge’s background. We also uncovered evidence that XP is no stranger to
 allegations involving money laundering.



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 In 2015, Brazil’s markets supervisor (BSM) absolved Benchimol (CEO) and XP in a case that,
 among other things, alleged XP lacked the controls necessary to prevent money laundering.62
 The case against Benchimol and XP was closed a month after a judge ordered police to stop
 investigating Rudge.


 Income Statement Understates Initial Cost of Advisor Payments
 XP pays financial advisors “incentives” to use its platform and capitalizes those
 expenses, thus increasing annual reported net income.

 A key part of XP’s strategy to grow CCTVM is to attract new retail clients and inflows by locking
 down Brazil’s independent financial advisors (IFAs), who onboard their clients to XP’s platforms.
 In Brazil, exclusivity is required, meaning IFAs can’t use competing financial services platforms
 once they’ve selected a custodian or platform. Thus, XP sees building out its network of IFAs as
 a land grab and is moving quickly.

 As of September 30, 2019 XP claims it has 5,900 IFAs in its network. Research63 indicates there
 were just 9,300 IFAs in Brazil in 2019, meaning XP has 63.4% of the market. How has XP
 cornered nearly two thirds of the market in just a few years?

 XP credits its “incentive campaign” or the cash advances64 on compensation it offers to lure
 IFAs to the company’s platform. Specifically, XP “establishes the payment of a financial
 incentive” for each new account an IFA activates.

 The payments XP makes to IFAs are significant. In 2018, it paid R$22,125, or approximately
 4.7% of net income for the year. XP paid even more the prior year, though we can’t determine
 exactly how much, as the incentives in the IPO prospectus are not consistent with CCTVM’s
 audit.

 The CCTVM audit claims R$30,541 million in incentives were paid in 2017, yet XP’s IPO
 prospectus records R$33,903 million.

 Here’s the IPO prospectus:




 62
    BSM Administration Process No. 50/2012 ​https://bit.ly/3abb7yL
 63
    The Braziian Investment Landscape ​https://owy.mn/2OyckHL
 64
    XP IPO Prospectus 12/10/2019 p. F-78 ​https://bit.ly/2H1jT5M


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 And here’s the CCTVM audit:




 It’s a R$3.4 million discrepancy XP is obligated to explain.

 However, these figures understate the true upfront cost of the incentive program on XP’s
 income statement. XP classifies these payments as prepaid expenses. Rather than immediately
 expensing IFA payments, XP capitalizes them over four years. While this is an acceptable
 accounting treatment, amortizing IFA advances allows XP to report higher annual net income
 figures than it otherwise might.


 IFA Incentives Don’t Guarantee Exclusivity
 IFAs receiving incentive payments may soon be allowed to work for XP’s competitors.

 Investors are likely not aware of the risk in XP’s IFA payments. XP’s core asset, CCTVM, is
 highly dependent on its IFA network. The IFAs, according to XP, are responsible for serving
 nearly a third of CCTVM’s active clients. The twenty largest IFA entities serve nearly 10% of


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 CCTVM’s active clients. The defection of a significant IFA or IFA entity would have a material
 impact on XP’s results.

 But it’s not just concentration risk of which investors should be aware.

 If amendments currently under consideration by Brazil’s SEC (CVM) are adopted, IFAs may no
 longer be required to be exclusive to a single financial services platform. Terminating what’s
 known as the exclusivity clause could allow IFAs to work with XP’s competitors. While we can
 assume XP would try to claw back incentive payments should an IFA leave for a competitor, this
 magnifies the risk in XP’s strategy of purchasing growth through IFAs.

 Two other notable risks include:

 Competitive Risk
 The competition for IFAs among Brazil’s financial institutions is intensifying. The incentives XP
 offers may rise significantly which may further pressure margins. There’s also risk in that the
 IFAs own the relationship they have with retail clients, not XP. The company acknowledges that
 losing an IFA may also result in the loss of retail clients. Likewise, if XP is forced to cut fees
 similar to its U.S. peers, as it recently did at its brokerage Clear Correctora, IFA incentives may
 not generate the returns XP currently expects.

 Legal Risk
 IFAs are considered independent contractors. If XP were required to classify IFAs as
 employees, by legal or legislative action, the company would incur significant additional
 expenses, including potentially retroactively paying IFAs for years of service. XP has
 successfully challenged a number of legal proceedings claiming IFAs should be treated as
 employees.


 Broker Allegedly Fired for Violating Rules Became XP’s U.S.
 Chief Compliance Officer
 Itaú Unibanco S.A. allegedly fired the broker who would become Chief Compliance
 Officer for XP’s U.S. Subsidiary.

 It appears Itaú takes Brazil’s IFA exclusivity requirement seriously. Remember, IFAs can’t use
 competing financial services platforms once they’ve selected and aligned with a custodian or
 platform. Court records65 from the Curley lawsuit suggest Itaú terminated an employee when the
 bank learned the employee had also registered with a second broker-dealer.




 65
      Curley vs. XP Investimentos Et al. ​https://bit.ly/39T1LYf


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            “Although Curley was unaware at the time, upon information and belief, Cantreva
            actually had been fired from Itaú because he had registered with another broker-dealer
            in January, 2010, Murex Capital, LLC, while simultaneously employed by Itaú.”

 Adriano Cantreva is the person to which Curley is referring. This is of interest to investors
 because after allegedly being fired for violating Brazil’s exclusivity requirement, court records
 indicate XP hired Cantreva to be its Chief Compliance Officer at its U.S. broker-dealer. Later, it
 appears as if XP even promoted Cantreva as he indicates on the XP Securities, LLC’s 2012
 annual report he is the CEO:




 It was in 2012, while Cantreva was at the helm of XP Securities, LLC, that our investigation first
 revealed that auditors identified material weaknesses in the internal controls for XP’s financial
 reporting. If Curley’s account of Cantreva’s firing is accurate, hiring Cantreva to head up a key
 overseas subsidiary is an indictment on XP’s judgement and diligence.

 Interestingly, Cantreva’s LinkedIn profile66 states he did work for Itaú in the Middle East as
 Curley states in court records:




 66
      Adriano Cantreva LinkedIn Profile ​https://bit.ly/2STsEFI


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 Yet Cantreva’s FINRA broker registration history67 makes no mention of his time at Itaú, a time
 he’d likely prefer anyone checking his background not know about if he were fired. It does
 however record Cantreva’s stint at Murex, the broker-dealer Curley alleges Cantreva wrongly
 registered with while simultaneously working for Itaú:



 67
      Adriano Cantreva FINRA Broker Check ​https://bit.ly/32kraHH


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 If Cantreva was fired from Itaú for violating the rules, it’s telling that XP would hire him to head
 up its U.S. broker dealer, especially when you consider the importance Benchimol and
 Maisonnave placed on establishing business with institutional investors in the U.S.

 If XP was unaware Cantreva was allegedly fired from Itaú for breaking the rules, it means the
 company’s due diligence in hiring for key positions is suspect.


 R$100 Million in Systems Failure Costs Not Disclosed
 Systems failures and order execution errors are significant recurring costs and are not
 being disclosed in XP’s IPO prospectus.




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 XP is not disclosing expenses related to systems failures and order execution errors in its IPO
 prospectus. Included here are errors made by XP employees that have resulted in the payment
 of tens of millions of reais. We also believe XP is being less than forthcoming in its disclosures
 regarding these expenses.

 While XP warns investors that an increase in volume or other errors could cause its systems to
 malfunction, it says it has never experienced a significant failure of its trading systems.68 This
 doesn’t appear to be wholly accurate as we’ve discovered, for example, order execution errors
 equal to 7.8% of net income in 2018.

 In CCTVM’s 2018 audit, XP reports more than R$36.7 million in what it calls “operating errors”.
 In a footnote,69 the company explains that these are largely payments made to customers due to
 order execution errors for system failures or human error:




 The operating errors are significant when measured as percentage of XP’s net income. In 2016,
 operating errors were equivalent to 8.1% of net income. In 2017, operating errors amounted to
 6.6% of net income. In 2018, operating errors are equal to 7.8% of net income. The operating
 errors used to calculate these figures were taken from CCTVM audits and divided by the annual
 net income reported in XP’s IPO prospectus.

 However, the “Other operating expenses” section in XP’s IPO prospectus makes no mention of
 order execution errors, system failures, or human error:




 68
      XP Prospectus 12/10/2019 p. 29 ​https://bit.ly/38h7WVm
 69
      XP CCTVM 2018 Audit p. 35 ​https://bit.ly/2Ozpe8r


                                                                                                 32
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 We wondered if the lack of disclosure in the prospectus might be because the operating errors
 had been fixed and no longer an issue in 2019. But an examination of CCTVM’s audit from the
 first half of 201970 indicates the failures persist:




 From 2016 through the first half of 2019, CCTVM’s audits report operating errors of more than
 R$95.8 million. In the years 2016-2018, operating errors were the equivalent of more than 5.2%
 of net income. This is significant in our view and should be disclosed in XP’s prospectus just as
 it is in CCTVM’s audits.

 Brazil’s Securities and Exchange Commissions (CVM) has taken notice of XP’s systems issues.
 The CVM has accused XP and CEO Benchimol of failing to implement appropriate internal
 systems controls in connection with securities transactions.71

 70
      XP CCTVM 2019 Audit ​https://bit.ly/3838hv2
 71
      CNF ​https://bit.ly/2Psdplb


                                                                                                33
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 Downside Risk for XP’s Shares
 Even based on the questionable financials XP provides, our models conservatively
 suggest downside risk of 53%-to-$64%72 and a USD per share value of $14.41- $18.63.

 We end where we began, arguing that XP doesn’t deserve to be compared to Charles Schwab
 just because it’s copying Schwab’s marketing. With a P/E multiple of 100X, investors are
 ignoring the risks we’ve outlined. While the accounting discrepancies we’ve discovered may
 simply be the result of ineptitude, a company forced to restate a portion of its financial
 statements (EPS) in the lead up to its IPO doesn’t inspire confidence.

 We are using the financial statements provided by XP as the basis for our valuation. While we
 have serious concerns regarding the accuracy of XP’s financial reporting, valuing XP based on
 the numbers it has provided only serves to strengthen our case. We aim to be generous and
 conservative in our valuation so as to provide investors with a margin of safety. Even if we have
 reason not to trust XP’s financial statements, the stock is still significantly overvalued based on
 suspect financials.

 Embedded in XP’s stock price are lofty expectations. At more than $40 USD per share at the
 time of this writing, investors expect XP to grow revenue 55% every year through 2030. To
 justify today’s stock price, XP must also achieve a net operating profit after tax (NOPAT) margin
 of 15%, which is 3x what we calculate its current NOPAT margin:




 72
      Based on a $40.00+ USD price per share as of this writing


                                                                                                  34
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 Separately, if we assume revenue growth slows to 30% by the end of the decade, and we
 reduce XP’s cost of capital to 9.5%, a second DCF model (based on 10 years of discounted
 cash flows) results in a per share intrinsic value of $18.63 USD:




 If we maintain the same WACC as in the prior model (11.5%), we get a per share intrinsic value
 of $14.41 USD, or approximately 66% below the current share price. We’re being extremely
 conservative as XP uses a WACC of 13.57% to discount future cash flows in its own goodwill
 impairment tests.

 To price the stock relative to peers or the overall market, let’s assume XP approximately
 doubles its 2020 EPS to $0.88 USD Pro forma per share (We don’t have XP’s full year 2019
 EPS as of this writing). If XP trades between $14-$18USD per share, this range gives XP a P/E
 multiple between 15.9-and-20.4, a range in which the majority of U.S. peers trade.

 This range is consistent with the multiple Itaú Unibanco S.A., which acquired a 49.9% stake in
 XP in August 2018, suggests is appropriate. While regulators may not allow it,73 Itaú’s initial
 investment includes provisions that allow the bank to ultimately take a controlling stake in XP
 based on a multiple of 19 times XP’s earnings.74

 If you believe XP deserves a premium due to its first mover advantage and the infancy of the
 Brazilian market, a per share price of $25 gives you a 28.4 P/E multiple. This is still 37% below
 the current stock price. We don’t believe XP deserves to trade at a premium.

 73
      Itau Barred From Taking Over XP Until 2026 ​https://bit.ly/2SNbsS6
 74
      Itau MD*A 2018 3Q p51 ​https://bit.ly/32gMZYx


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 We admire XP’s mission and its disruption of traditional, dominant financial institutions that
 house the majority of investor capital in Brazil. Educating new classes of investors and
 democratizing access to a wider range of financial services and products is noble. We wish XP
 success and hope one day to be shareholders.

 But not until XP reconciles its financial statements with its internal audits, remediates its material
 weaknesses, and satisfactorily explains why it made an acquisition with links to a Swiss bank
 money laundering probe at 10x the market value of the acquisition’s assets.

 The lockup preventing insiders from selling shares expires June 8, 2020.

 Even without penalizing XP for the accounting discrepancies we’ve raised, our models
 suggest downside risk of at least 53%-to-$64% and a USD per share value of $14.41-
 $18.63.




 March 2019
 Nick Winkler | Principal
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